                                    Case 19-11360-BLS                        Doc 13         Filed 07/09/19            Page 1 of 86




 Fill in this information to identify the case:

 Debtor name         Advantage Business Media, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         19-11360-BLS
                                                                                                                                  Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 2, 2019                            X /s/ Bruce Cummings
                                                                       Signature of individual signing on behalf of debtor

                                                                       Bruce Cummings
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                           Case 19-11360-BLS                                    Doc 13                Filed 07/09/19                         Page 2 of 86

 Fill in this information to identify the case:

 Debtor name            Advantage Business Media, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)               19-11360-BLS
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        8,836,314.69

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        8,836,314.69


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        2,505,172.34


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $           141,692.84

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      13,622,781.19


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        16,269,646.37




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Advantage Business Media, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         19-11360-BLS
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Texas Capital Bank, National
            3.1.     Association                                            Operating                        0742                                           $0.00



                     Texas Capital Bank, National
            3.2.     Association                                            Lockbox                                                                  Unknown



 4.         Other cash equivalents (Identify all)


            4.1.     Petty cash and deposits                                                                                                         $4,950.00




 5.         Total of Part 1.                                                                                                                     $4,950.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Prepaid expenses. See attached Schedule 7.1.                                                                                 $558,719.01
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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SCHEDULE 7.1 (Question 7.1 on Schedule A/B)
Case 19-11360-BLS   Doc 13   Filed 07/09/19   Page 5 of 86
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 Debtor            Advantage Business Media, LLC                                               Case number (If known) 19-11360-BLS
                   Name




 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid insurance. See attached Schedule 8.1                                                                        $53,526.00


                     Rock 80 Holdings NJ LLC
                     c/o Lincoln Property Company
                     9 Entin Road
            8.2.     Parsippany, NJ 07960                                                                                              $111,913.00


                     Tech Building II, LLC c/o Midtown Center, LLC
                     145 East Badger Road, Suite 200
            8.3.     Madison, WI 53713                                                                                                     $4,000.00


                     NWP Acquisition LLC
                     25 Northwest Point Boulevard
                     Suite 430
            8.4.     Elk Grove Village, IL 60007                                                                                           $6,000.00




            8.5.     Various federal, state and local tax pre-payments (see attached Schedule 8.5)                                       $18,815.00




 9.         Total of Part 2.                                                                                                         $752,973.01
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.          See attached Schedule 11.
 11.        Accounts receivable
            11a. 90 days old or less:                           761,741.68   -          Unknown                       = ....            $761,741.68
                                              face amount                        doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                         $761,741.68
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:    Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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SCHEDULE 8.1 (Question 8.1 on Schedule A/B)
                                Case 19-11360-BLS                                       Doc 13             Filed 07/09/19   Page 8 of 86
SCHEDULE 8.5 (Question 8.5 on Schedule A/B)
ABM
TAX SUMMARY

                                                                                                                                                              ADJ TO
                                                                            ADJ TO RETURNS                                                                    RETURNS AS
                                                                            AS FILED-CHARGE                                                                   FILED-CHARGE
                                                                            TAX EXPENSE                      OPENING                                          TAX EXPENSE
                                          TAX PAYMENTS- TAX REFUNDS-TO AND REDUCE                            BALANCE IN       TAX PAYMENTS- TAX REFUNDS-TO AND REDUCE
                 OPENING BALANCE IN       TO PREPAID       PREPAID          PREPAID                          PREPAID          TO PREPAID       PREPAID        PREPAID
                 PREPAID EXPENSES-1/1/18 EXPENSES - 2018 EXPENSES - 2018 EXPENSES -2018 2018 Balance         EXPENSES-1/1/19 EXPENSES - 2019 EXPENSES - 2019 EXPENSES -2019 2019 Balance
                                   77,106                0                0                  0       77,106             5,150                0              0              0       5,150
JAN-19                                  0                0            (773)                  0        (773)                 0                0              0              0           0
FEB-19                                  0                0         (14,008)               (62)     (14,071)                 0                0              0              0           0
MAR-19                                  0                0                0                  0             0                0                0              0              0           0
APR-19                                  0            7,550            (287)               (13)        7,250                 0            4,550              0              0       4,550
MAY-19                                  0                0                0                  0             0                0            9,115              0              0       9,115
JUN-19                                  0                0             (59)                  0          (59)                0                0              0              0           0
JUL-19                                  0                0                0                  0             0                0                0              0              0           0
AUG-19                                  0                0         (28,072)                  0     (28,072)                 0                0              0              0           0
SEP-19                                  0                0                0                  0             0                0                0              0              0           0
OCT-19                                  0                0          (1,120)            (5,664)      (6,784)                 0                0              0              0           0
NOV-19                                  0                0                0           (29,448)     (29,448)                 0                0              0              0           0
DEC-19                                  0                0                0                  0             0                0                0              0              0           0

TOTAL                                        0          7,550              (44,319)       (35,187)            (71,956)       0                   13,665                    0              0    18,815
                                                 (a)                 (a)                                                                   (a)                   (a)

Reconciliation                                     Prepaids         Tax Expense Net Cash Tax Pymts Notes
                 Prepaid Balance-1/1/19                 5,150
                 Taxes Paid in cash and
                 charged directly to expense-
                 see OTHER TAB (not rolling                                                                                                               Net Cash Payments     Expenses by
                 into summary above)                                        4,099                                                CY 2019                            by Month         Month
                 Taxes Paid in Cash and
                 charged to prepaid expenses           13,665              13,665          17,764 GROSS TAX PAYMENTS             JAN19                                     0             813
                 Tax Refunds                                0                   0               0 GROSS TAX REFUNDS              FEB19                                     0           1,126
                 Net Tax Payments                      13,665              17,764          17,764 TOTAL NET TAX PAYMENTS         MAR19                                     0           1,146
                 Taxes Paid in cash and
                 charged directly to expense-
                 see OTHER TAB                                              4,099           4,099                                APR19                                  4,550          1,015
                 Expense to the P&L resulting
                 from adjustment to returns as
                 filed                                     0                     0              0                                MAY19                                  9,115             0
                 Total Expense                                              4,099 G/L                (b)                         JUN19                                      0             0
                 Prepaid Balance-12/31/19              18,815 G/L                                                                JUL19                                     0              0
                                                                                                                                 AUG19                                      0              0
                                                                                                                                 SEP19                                      0              0
                                                                                                                                 OCT19                                      0              0
                                                                                                                                 NOV19                                      0              0
                                                                                                                                 DEC19                                      0              0
                                                                                                                                 Total                                 13,665          4,099
                                                                                                                                                                 (a)             (b)
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SCHEDULE 11 (Question 11 on Schedule A/B)
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 Debtor         Advantage Business Media, LLC                                                 Case number (If known) 19-11360-BLS
                Name


     Yes Fill in the information below.

 Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture, estimated amount                                               $0.00                                      $20,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Estimated amount                                                                 $0.00                                      $14,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $34,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Advantage Business Media, LLC                                                 Case number (If known) 19-11360-BLS
                Name

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 25 Northwest Point
                     Blvd.
                     Suite 430
                     Elk Grove villiage, IL
                     60007                                Lease                        Unknown                                              Unknown


            55.2.
                     100 Enterprise Drive
                     Rockaway, NJ 07866                   Lease                        Unknown                                              Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patents, copyrights, trademarks, and trade
            secrets                                                                $4,735,000.00                                       $4,735,000.00



 61.        Internet domain names and websites
            Internet domain names and websites, value to
            be determined.                                                             Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer lists, mailing lists, or other
            compilations                                                           $1,457,805.00                                       $1,457,805.00



 64.        Other intangibles, or intellectual property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         Advantage Business Media, LLC                                                Case number (If known) 19-11360-BLS
                Name



 65.        Goodwill
            Goodwill                                                               $1,089,845.00                                    $1,089,845.00



 66.        Total of Part 10.                                                                                                      $7,282,650.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Fiduciary Insurance (Chubb Group of Insurance
            Companies, Pol. No. 82085380)                                                                                                 Unknown


            Directors and Officers Insurance, Excess Management
            Liability (Continental Insurance Company of NJ, Pol. No.
            652030846)                                                                                                                    Unknown


            Directors and Officers Insurance, Excess Management
            Liability (Aspen American Insurance Company, Pol. No.
            DSUMLP001541-18)                                                                                                              Unknown


            Travel Accident Insurance (Federal Insurance Company,
            Pol. No. 9906-20-56)                                                                                                          Unknown


            Workers Compensation Insurance (The Hanover
            Insurance Group, Pol. No. D298945)                                                                                            Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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 Debtor         Advantage Business Media, LLC                                                Case number (If known) 19-11360-BLS
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           Commercial Package Insurance (Business Interruption,
           Personal Property, General Liability and Crime) (The
           Hanover Insurance Group, Pol. No. D298544)                                                                                   Unknown


           Auto Insurance (The Hanover Insurance Group, Pol. No.
           D298534)                                                                                                                     Unknown


           Umbrella Insurance (The Hanover Insurance Group, Pol.
           No. D298546)                                                                                                                 Unknown


           Professional liability insurance (Hiscox Insurance
           Company, Pol. No. 264283318)                                                                                                 Unknown


           Erisa Bond (Hartford Insurance Company, Pol. No.
           12BDDEI6689)                                                                                                                 Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                               $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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 Debtor          Advantage Business Media, LLC                                                                       Case number (If known) 19-11360-BLS
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $4,950.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $752,973.01

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $761,741.68

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $34,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $7,282,650.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $8,836,314.69            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,836,314.69




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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 Fill in this information to identify the case:

 Debtor name          Advantage Business Media, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)              19-11360-BLS
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Texas Capital Bank, N.A.                      Describe debtor's property that is subject to a lien              $2,505,172.34                 Unknown
        Creditor's Name
        c/o Eric J. Taube, Esq.
        Waller Lansden Dortch
        100 Congress Ave., Ste.
        1800
        Austin, TX 78701
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                         $2,505,172.3
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   4

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Advantage Business Media, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)          19-11360-BLS
                                                                                                                                            Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim          Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $1,038.46         $1,038.46
           Aaron Million                                             Check all that apply.
           4308 Gateway Circle                                        Contingent
           Scarborough, ME 04074                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $1,826.93         $1,826.93
           Ahmed Mohammed                                            Check all that apply.
           359 W Main St                                              Contingent
           Rockaway, NJ 07866                                         Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 28
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 Debtor       Advantage Business Media, LLC                                                                   Case number (if known)   19-11360-BLS
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,040.38    $3,040.38
          Allan A Eldridge                                           Check all that apply.
          7 Durwood Place                                             Contingent
          Madison, NJ 07940                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,307.69    $1,307.69
          Amanda Hollenbeck                                          Check all that apply.
          93 Circle Dr                                                Contingent
          Rockaway, NJ 07866                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commission or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Anupama Kurra                                              Check all that apply.
          27 Barker Ave                                               Contingent
          Apt. 1124                                                   Unliquidated
          White Plains, NY 10601                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,126.65    $3,126.65
          Barbara A Benack                                           Check all that apply.
          8 Hilltop Terrace                                           Contingent
          Bloomingdale, NJ 07403                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 28
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 Debtor       Advantage Business Media, LLC                                                                   Case number (if known)   19-11360-BLS
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,356.73    $1,356.73
          Bevin A Fletcher                                           Check all that apply.
          707 Main Street                                             Contingent
          Apt. 2                                                      Unliquidated
          Boonton, NJ 07005                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,934.62    $3,934.62
          Brent A Tomasino                                           Check all that apply.
          87 Overlood Drive                                           Contingent
          Hackettstown, NJ 07840                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,014.20    $6,014.20
          Brent R Hatch                                              Check all that apply.
          18 Lakeview Drive                                           Contingent
          Yorkville, IL 60560                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $326.92    $326.92
          Brianne Bailey                                             Check all that apply.
          3829 Tierra Chisum Drive                                    Contingent
          El Paso, TX 79938                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Advantage Business Media, LLC                                                                   Case number (if known)   19-11360-BLS
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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,200.00    $1,200.00
          Brittany Smith                                             Check all that apply.
          3303 Holly Bramch Court                                     Contingent
          Apt #471                                                    Unliquidated
          Sacramento, CA 95834                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,307.69    $1,307.69
          Catherine Sbeglia                                          Check all that apply.
          111 N. Hamilton Street                                      Contingent
          Madison, WI 53707                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,634.62    $1,634.62
          Daniel S Seeger                                            Check all that apply.
          2322 Upham Street                                           Contingent
          Madison, WI 53704                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,647.69    $1,647.69
          Danielle M deRonde                                         Check all that apply.
          52 Hill Street                                              Contingent
          Rockaway, NJ 07866                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Advantage Business Media, LLC                                                                   Case number (if known)   19-11360-BLS
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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $211.54    $211.54
          David Lojko                                                Check all that apply.
          1598 NE Sottong Ave                                         Contingent
          Jensen Beach, FL 34957                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,798.08    $1,798.08
          Denise VanZandt                                            Check all that apply.
          567 Main Street                                             Contingent
          Landing, NJ 07850                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $711.54    $711.54
          Gary Fortin                                                Check all that apply.
          5701 W Slaughter Ln                                         Contingent
          Bldg A130 -197                                              Unliquidated
          Austin, TX 78749                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,902.61    $2,902.61
          George Mitchell Jr                                         Check all that apply.
          29 Garden Avenue                                            Contingent
          Wharton, NJ 07885                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Advantage Business Media, LLC                                                                   Case number (if known)   19-11360-BLS
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,626.49    $9,626.49
          Glen Sundin                                                Check all that apply.
          4 Tiffany Road                                              Contingent
          Morristown, NJ 07960                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,076.92    $5,076.92
          Henry E Hansch                                             Check all that apply.
          20 Fox Hill Road                                            Contingent
          Denville, NJ 07834                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Oper.                                Contingent
          PO Box 7346                                                 Unliquidated
          Philadelphia, PA 19101-7346                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,918.27    $3,918.27
          James DiProspero                                           Check all that apply.
          40 3rd Street                                               Contingent
          Fanwood, NJ 07023                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,203.77    $4,203.77
          James Miller                                               Check all that apply.
          102 Juniper Lane                                            Contingent
          East Stroudsburg, PA 18301                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $692.31    $692.31
          James Protopapa                                            Check all that apply.
          269 Lyons Rd                                                Contingent
          Basking Ridge, NJ 07920                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,454.80    $3,454.80
          James Theriault                                            Check all that apply.
          4108 Whispering Oaks Lane                                   Contingent
          Danville, CA 94506                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,203.85    $3,203.85
          Jennifer Grinthal                                          Check all that apply.
          158 Kanouse Street                                          Contingent
          Boonton, NJ 07005                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,615.39    $2,615.39
          Jennifer K Choo                                            Check all that apply.
          8 Pine Valley Road                                          Contingent
          Fredon, NJ 07860                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,144.24    $1,144.24
          Jennifer R DeLaOsa                                         Check all that apply.
          101 Sherman Ridge Rd                                        Contingent
          Wantage, NJ 07461                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,471.15    $1,471.15
          Jesse J Osborne                                            Check all that apply.
          9960 Talons Way                                             Contingent
          Verona, WI 53593                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,538.46    $2,538.46
          Jon Minnick                                                Check all that apply.
          1348 Emerald Terrace                                        Contingent
          Sun Prairie, WI 53590                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Advantage Business Media, LLC                                                                   Case number (if known)   19-11360-BLS
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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,173.08    $3,173.08
          Joseph T Barrett Jr                                        Check all that apply.
          38 Deerfield Drive                                          Contingent
          Rockaway, NJ 07866                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,576.93    $4,576.93
          Joyceann M Grippa                                          Check all that apply.
          133 Leverett Avenue                                         Contingent
          Staten Island, NY 10308                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,407.36    $5,407.36
          Judd H Bergenfeld                                          Check all that apply.
          31 Stewart Place                                            Contingent
          Fanwood, NJ 07023                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $692.31    $692.31
          Kathleen Boback                                            Check all that apply.
          26 Edgefield Drive                                          Contingent
          Morris Plains, NJ 07950                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,384.62    $1,384.62
          Kelly Somers                                               Check all that apply.
          16 Green Acres Drive                                        Contingent
          Unit 55                                                     Unliquidated
          Verona, NJ 07044                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,521.50    $1,521.50
          Lainie Fiszer                                              Check all that apply.
          64 Beaver Dam Road                                          Contingent
          Randolph, NJ 07869                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,451.92    $2,451.92
          Laura E Panjwani                                           Check all that apply.
          28 West 3rd Street                                          Contingent
          Apt 2345                                                    Unliquidated
          South Orange, NJ 07079                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,846.16    $1,846.16
          Madhuri Koti                                               Check all that apply.
          320 East Main Street                                        Contingent
          Apt. 5B                                                     Unliquidated
          Rockaway, NJ 07866                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,060.12    $2,060.12
          Mark Pantalone                                             Check all that apply.
          38 Round Top Road                                           Contingent
          Warren, NJ 07059                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,326.93    $2,326.93
          Mary E Di Donna                                            Check all that apply.
          14 Beasley Street                                           Contingent
          West Orange, NJ 07052                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,269.23    $3,269.23
          Michael H Mc Caffery                                       Check all that apply.
          47 Irving Ave                                               Contingent
          Livingston, NJ 07039                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,051.93    $2,051.93
          Michele Verdi                                              Check all that apply.
          78 Koclas Drive                                             Contingent
          Netcong, NJ 07857                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,153.85    $1,153.85
          Natalynn V Sunga                                           Check all that apply.
          41 West Prospect St.                                        Contingent
          Unit 410                                                    Unliquidated
          Waldwick, NJ 07463                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,896.16    $1,896.16
          Paul Musolino                                              Check all that apply.
          28 Lilchester Road                                          Contingent
          Hopatcong, NJ 07843                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,340.39    $1,340.39
          Rachelle E Blair-Frasier                                   Check all that apply.
          213 Prairie Street                                          Contingent
          Lodi, WI 53555                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $726.92    $726.92
          Ryan Masten                                                Check all that apply.
          22117 Esmeralda Drive                                       Contingent
          Spicewood, TX 78669                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,961.54    $1,961.54
          Seth A Augenstein                                          Check all that apply.
          2 Liberty Place                                             Contingent
          Rockaway, NJ 07866                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,076.92    $5,076.92
          Shelton Roopa                                              Check all that apply.
          82 Lakeshore Drive                                          Contingent
          Rockaway, NJ 07866                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,798.08    $1,798.08
          Spencer D Chin                                             Check all that apply.
          69-15 Springfield Blvd                                      Contingent
          Oakland Gardens, NY 11364                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,043.22    $2,043.22
          Susan Elizabeth Gillespie                                  Check all that apply.
          1252 Madison Street                                         Contingent
          Denver, CO 80206                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,942.31    $2,942.31
          Teresa A Krueger                                           Check all that apply.
          86 Ryerson Avenue                                           Contingent
          Newton, NJ 07860                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,192.31    $7,192.31
          Theresa Freeburg                                           Check all that apply.
          232 Cambridge Court                                         Contingent
          Clifton, NJ 07014                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,614.96    $1,614.96
          Thomas A Rullis                                            Check all that apply.
          63 Foothill Drive                                           Contingent
          Lincoln Park, NJ 07035                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,913.62    $8,913.62
          Thomas J Morgan                                            Check all that apply.
          One Patriots Way                                            Contingent
          Middletown, NJ 07748                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.55       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $1,438.47    $1,438.47
            Timothy F Morgan                                         Check all that apply.
            24 Orion Road                                             Contingent
            Berkeley Heights, NJ 07922                                Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages, salary, commissions or other
                                                                     compensation
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $3,317.53
           A&P Printing                                                             Contingent
           PO Box 4233                                                              Unliquidated
           Clifton, NJ 07012                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $12,534.98
           Alexander Co.                                                            Contingent
           345 W. Washington Avenue                                                 Unliquidated
           Madison, WI 53703                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $3,750.00
           Alix Paultre                                                             Contingent
           Klarenthaler Str. 1                                                      Unliquidated
           65197 Wiesbaden                                                          Disputed
           GERMANY
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $342.88
           Althea Dotzour Photography                                               Contingent
           1004 Sioux Trail                                                         Unliquidated
           Monona, WI 53716-2536                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $12,318.36
           Amazon Services                                                          Contingent
           410 Terry Ave N                                                          Unliquidated
           Seattle, WA 98109                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes


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 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,596.11
          American Audio Video                                                Contingent
          8005 Haute Court                                                    Unliquidated
          Springfield, VA 22150-2228                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $127,104.87
          American Express                                                    Contingent
          PO Box 1270                                                         Unliquidated
          Newark, NJ 07101-1270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,650.00
          APIHub, Inc.                                                        Contingent
          Attn: Conor Hickey                                                  Unliquidated
          90 Sheridan Street                                                  Disputed
          San Francisco, CA 94103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,250.00
          Arthur Pini Jr.                                                     Contingent
          1623 Fiddlewood Court                                               Unliquidated
          Casselberry, FL 32707                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $850.00
          ASA Media                                                           Contingent
          4 Jersey Lane                                                       Unliquidated
          St Albans                                                           Disputed
          HERTS AL4 9AB
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $131.00
          ASCAP                                                               Contingent
          21678 Network Place                                                 Unliquidated
          Chicago, IL 60673-1216                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,226.04
          Associated Press                                                    Contingent
          Attn: Ted Mendelsohn                                                Unliquidated
          450 West 33rd Street                                                Disputed
          New York, NY 10001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,614.29
          Cablevision                                                         Contingent
          PO Box 360111                                                       Unliquidated
          Pittsburgh, PA 15251-6111                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,261.65
          Canon Financial Solutions                                           Contingent
          14904 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693-0149                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,776.40
          Canon Solutions America Inc.                                        Contingent
          15004 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,431.50
          Capital Air Systems                                                 Contingent
          3444 Capitol Drive                                                  Unliquidated
          PO 670                                                              Disputed
          Sun Prairie, WI 53590
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $647.29
          Charter Communications                                              Contingent
          PO Box 3019                                                         Unliquidated
          Milwaukee, WI 53201-3019                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Cigna Health Life Insurance Co.                                     Contingent
          Corporate Headquarters                                              Unliquidated
          900 Cottage Grove Road                                              Disputed
          Bloomfield, CT 06002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          ClearVoice, Inc.                                                    Contingent
          515 E. Grant Street                                                 Unliquidated
          Suite 150                                                           Disputed
          Phoenix, AZ 85003-2633
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          Cloyd A Steiger                                                     Contingent
          1112 SW 348th Place                                                 Unliquidated
          Federal Way, WA 98023                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,100.00
          Corinne Bernstein                                                   Contingent
          98-40 64th Avenue                                                   Unliquidated
          Apartment 5H                                                        Disputed
          Rego Park, NY 11374-2516
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,873.40
          Data Safe Inc.                                                      Contingent
          831B Route 10                                                       Unliquidated
          Whippany, NJ 07981                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,640.00
          David Diehl                                                         Contingent
          236 Clinton Street                                                  Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,898.50
          Davis & Gilbert LLP                                                 Contingent
          Brooke Erdos Singer, Esq.                                           Unliquidated
          1740 Broadway                                                       Disputed
          New York, NY 10019
                                                                             Basis for the claim: Legal fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $400.00
          Debra Schug                                                         Contingent
          5520 W. Dakin                                                       Unliquidated
          Chicago, IL 60641                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,580.00
          Design-Er LLC                                                       Contingent
          276 Schulte Lane                                                    Unliquidated
          Santa Barbara, CA 93105                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,900.00
          Docusign                                                            Contingent
          221 Main Street                                                     Unliquidated
          Suite 1000                                                          Disputed
          San Francisco, CA 94105
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          Dolly Stolze                                                        Contingent
          1930 Manhattan Beach Blvd                                           Unliquidated
          #102                                                                Disputed
          Redondo Beach, CA 90278
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $415.75
          Free Trade Magazines.com                                            Contingent
          1 International Boulevard                                           Unliquidated
          Suite 1200                                                          Disputed
          Mahwah, NJ 07495-0031
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,813.80
          Freeman Companies                                                   Contingent
          PO Box 650036                                                       Unliquidated
          Dallas, TX 75265-0036                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,692.44
          Fry Communications Inc.                                             Contingent
          800 West Church Road                                                Unliquidated
          Mechanicsburg, PA 17055                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $324.96
          Global Experience Specialists                                       Contingent
          Bank of America                                                     Unliquidated
          PO Box 96174                                                        Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          Green Sky Creative LLC                                              Contingent
          607 Shelby #500                                                     Unliquidated
          Detroit, MI 48226                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          Higbee & Associates
          Client Trust Account                                                Contingent
          1504 Brookhollow Drive                                              Unliquidated
          Suite 112                                                           Disputed
          Santa Ana, CA 92705
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $58.87
          HireRight LLC                                                       Contingent
          PO Box 847891                                                       Unliquidated
          Dallas, TX 75284-7891                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,796.88
          Hubspot Inc.                                                        Contingent
          25 First Street                                                     Unliquidated
          2nd Floor                                                           Disputed
          Cambridge, MA 02141
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,272.00
          Hyatt Regency Austin                                                Contingent
          208 Barton Springs Rd.                                              Unliquidated
          Austin, TX 78704                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $79,418.54
          Hyatt Regency Orlando                                               Contingent
          9801 International Drive                                            Unliquidated
          Orlando, FL 32819                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,273.91
          iCIMS, Inc.                                                         Contingent
          29348 Network Place                                                 Unliquidated
          Chicago, IL 60673-1294                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $170,600.00
          Idio Inc.                                                           Contingent
          214 West 39th Street                                                Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,670.00
          Infogroup                                                           Contingent
          PO Box 3243                                                         Unliquidated
          Omaha, NE 68103-0395                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,760.34
          Insight                                                             Contingent
          Attn Paul Musolino                                                  Unliquidated
          6820 S Harl Ave                                                     Disputed
          Tempe, AZ 85283-4318
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,018.15
          Iron Mountain                                                       Contingent
          PO Box 27128                                                        Unliquidated
          New York, NY 10087-7128                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $662.50
          Jennifer Miles                                                      Contingent
          3132 Wilmington Road                                                Unliquidated
          Suite 4                                                             Disputed
          New Castle, PA 16105
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,200.00
          John Koon                                                           Contingent
          4243 Sturgeon Court                                                 Unliquidated
          San Diego, CA 72130-2146                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,200.00
          John Paul Pickering                                                 Contingent
          4021 E. Glencove Street                                             Unliquidated
          Mesa, AZ 85205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Joyce Laird                                                         Contingent
          13207 Wentworth Street                                              Unliquidated
          Arleta, CA 91331                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $41.60
          Keystone Collections                                                Contingent
          Group                                                               Unliquidated
          PO Box 506                                                          Disputed
          Irwin, PA 15642
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          Lisa McCoy                                                          Contingent
          2895 McMichael Road                                                 Unliquidated
          Alanson, MI 49706                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,500.00
          Majeed Ahmad Kamran                                                 Contingent
          321-B Valancia Town                                                 Unliquidated
          Lahore                                                              Disputed
          Pakistan
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,263.06
          Marcus Plantenburg                                                  Contingent
          Andreas Kasperbauer                                                 Unliquidated
          Strabe 34 D-85540 Haa                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,400.00
          Maria Laura                                                         Contingent
          Guerra DeEgui                                                       Unliquidated
          100 Congress St, Apt. 205                                           Disputed
          Brooklyn, NY 11201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,112.00
          Maritim proArte
          Hotel Berlin                                                        Contingent
          Friedrichstraße 151                                                 Unliquidated
          10117 Berlin                                                        Disputed
          GERMANY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,181.21
          Massillon Plaque Company                                            Contingent
          5757 Mayfair Road                                                   Unliquidated
          North Canton, OH 44720                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $484.20
          Maureen Mushinsky                                                   Contingent
          W3375 McDonald Road                                                 Unliquidated
          Lake Geneva, WI 53147                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,019.00
          Mercury Magazines                                                   Contingent
          5 High Ridge Park                                                   Unliquidated
          Stamford, CT 06905                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,800.00
          Michelle Taylor                                                     Contingent
          6 E. Mayer Drive                                                    Unliquidated
          Montebello, NY 10901-3402                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,500.00
          National News * Information                                         Contingent
          Services LLC                                                        Unliquidated
          41521 N. Chase Oaks Way                                             Disputed
          Anthem, AZ 85086-1184
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,416.00
          Netline Corporation                                                 Contingent
          Dept LA 24024                                                       Unliquidated
          Pasadena, CA 91185-4024                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          New Orleans Marriott                                                Contingent
          555 Canal Street                                                    Unliquidated
          New Orleans, LA 70130-2349                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $250.00
          Norman Johnson Photography                                          Contingent
          4310 Paseo Del Norte NE                                             Unliquidated
          Suite 8                                                             Disputed
          Albuquerque, NM 87113
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $326,387.50
          NWP Acquisition LLC
          c/o Farbman Group                                                   Contingent
          28400 Northwestern Hwy                                              Unliquidated
          4th Floor                                                           Disputed
          Southfield, MI 48034
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/1/2019
          Last 4 digits of account number TAGE                               Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $704.78
          Office Depot                                                        Contingent
          PO Box 633211                                                       Unliquidated
          Cincinnati, OH 45263-3211                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,100,000.00
          Owner Resource Group                                                Contingent
          221 W. 6th Street                                                   Unliquidated
          Suite 2000                                                          Disputed
          Austin, TX 78701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $650.00
          Pathology Expert, Inc.                                              Contingent
          3739 Balboa Street                                                  Unliquidated
          #102                                                                Disputed
          San Francisco, CA 94121
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,850.00
          Patrice Argant                                                      Contingent
          130 West Jackson Avenue                                             Unliquidated
          Suite 201                                                           Disputed
          Knoxville, TN 37902
                                                                             Basis for the claim: Photography services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,813.00
          Plan B Marketing LLC                                                Contingent
          PO Box 2083                                                         Unliquidated
          Apopka, FL 32704                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,953,280.00
          PNC Erieview Capital
          c/o Douglas Mundell, Esq.                                           Contingent
          and Laura Long, Esq.                                                Unliquidated
          Legal Dept., 300 Fifth Avenue                                       Disputed
          Pittsburgh, PA 15222
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,500.00
          PR Newswire Association LLC                                         Contingent
          PO Box 5897                                                         Unliquidated
          New York, NY 10087-5897                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $126,227.34
          Rock80 NJ Holdings LLC                                              Contingent
          c/o Lincoln Property Company                                        Unliquidated
          9 Entin Road, Suite 103                                             Disputed
          Parsippany, NJ 07054
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $599.90
          Salesforce.com                                                      Contingent
          415 Mission Street, 3rd Floor                                       Unliquidated
          San Francisco, CA 94105                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,268.00
          Salesify Inc.                                                       Contingent
          DEPT #33984                                                         Unliquidated
          PO Box 39000                                                        Disputed
          San Francisco, CA 94139
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,390.28
          Sintec Media NYC, Inc.                                              Contingent
          d/b/a Operative                                                     Unliquidated
          6 East 32nd St., 3rd Flr                                            Disputed
          New York, NY 10016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,576.44
          SJ Marketing Inc.                                                   Contingent
          PO Box 546                                                          Unliquidated
          Old Bethpage, NY 11804-0546                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,670.25
          SNP Technologies Inc.                                               Contingent
          2319 Whitney Avenue                                                 Unliquidated
          Suite 3C                                                            Disputed
          Hamden, CT 06518
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Advantage Business Media, LLC                                                           Case number (if known)            19-11360-BLS
              Name

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $375.38
          Sohm Photografx                                                     Contingent
          PO Box 861                                                          Unliquidated
          Skagway, AK 99840                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,049.00
          Staff It Inc.                                                       Contingent
          1460 Broadway                                                       Unliquidated
          Front 5                                                             Disputed
          New York, NY 10036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,397.00
          Talkpoint Holdings LLC
          Attn: Pat McClure                                                   Contingent
          100 William Street                                                  Unliquidated
          8th Floor                                                           Disputed
          New York, NY 10038
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          TechCXO LLC                                                         Contingent
          1911 Grayson Hwy                                                    Unliquidated
          Suite 8/122                                                         Disputed
          Grayson, GA 30017
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,305.50
          The Magazine Production Co.
          Adur Business Center                                                Contingent
          Little High Street                                                  Unliquidated
          Shoreham-By-Sea                                                     Disputed
          West Sussex BN43 5EG, UK
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,190.00
          The Simon Group                                                     Contingent
          1506 Old Bethlemhem Pike                                            Unliquidated
          Sellersville, PA 18960                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,000.00
          Timothy Studt                                                       Contingent
          3648 Sterling Road                                                  Unliquidated
          Downers Grove, IL 60515                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       Advantage Business Media, LLC                                                           Case number (if known)            19-11360-BLS
              Name

 3.83      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $137.90
           Total Water Treatment Systems Inc.                                 Contingent
           5002 World Dairy Drive                                             Unliquidated
           Madison, WI 53718                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $421.36
           UPS                                                                Contingent
           PO Box 7247-0244                                                   Unliquidated
           Philadelphia, PA 19170                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $372.87
           Verizon                                                            Contingent
           PO Box 4833                                                        Unliquidated
           Trenton, NJ 08650-4833                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $418.00
           Visit Orlando                                                      Contingent
           6277 Sea Harbor Drive                                              Unliquidated
           Suite 400                                                          Disputed
           Orlando, FL 32821-8043
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.87      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $400.00
           William O. Makely                                                  Contingent
           4730 Main Street                                                   Unliquidated
           Downers Grove, IL 60515                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $9,556.68
           Workcast Inc.                                                      Contingent
           600 1st Ave                                                        Unliquidated
           Suite 541-543                                                      Disputed
           Seattle, WA 98104
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

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 Debtor       Advantage Business Media, LLC                                                      Case number (if known)        19-11360-BLS
              Name

                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                   141,692.84
 5b. Total claims from Part 2                                                                       5b.   +   $                13,622,781.19
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   13,764,474.03




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 Fill in this information to identify the case:

 Debtor name         Advantage Business Media, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         19-11360-BLS
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  License
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                Month-to-Month             Adobe
                                                                                     Corporate Headquarters
              List the contract number of any                                        345 Park Avenue
                    government contract                                              San Jose, CA 95110-2704


 2.2.         State what the contract or                  Enrichment-Salesforce,
              lease is for and the nature of              Enrichment
              the debtor's interest                       API-Internal,
                                                          Prspector-Salesforce,
                                                          Forms
                  State the term remaining                Expires 1/31/20            APIHub, Inc.
                                                                                     Attn: Conor Hickey
              List the contract number of any                                        90 Sheridan Street
                    government contract                                              San Francisco, CA 94103


 2.3.         State what the contract or                  Master Services
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining                Expires 7/25/2020          APIHub, Inc.
                                                                                     Attn: Conor Hickey
              List the contract number of any                                        90 Sheridan Street
                    government contract                                              San Francisco, CA 94103


 2.4.         State what the contract or                  License Agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                           Associated Press
                                                                                     Attn: Ted Mendelsohn
              List the contract number of any                                        450 West 33rd Street
                    government contract                                              New York, NY 10001




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 7
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 Debtor 1 Advantage Business Media, LLC                                                               Case number (if known)   19-11360-BLS
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired
                                                                                          lease

 2.5.        State what the contract or                   Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Month-to-Month
                                                                                              AWS-Amazon
             List the contract number of any                                                  410 Terry Ave N
                   government contract                                                        Seattle, WA 98109-5210


 2.6.        State what the contract or                   Advanced On-Site
             lease is for and the nature of               Check-In Software
             the debtor's interest

                  State the term remaining                Expires 1/28/2021
                                                                                              Bizzabo Inc.
             List the contract number of any                                                  31 W 27th Street, 10th Floor
                   government contract                                                        New York, NY 10001


 2.7.        State what the contract or                   Service Level
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Expires 6/30/20
                                                                                              Brightcove Inc.
             List the contract number of any                                                  Box 83318
                   government contract                                                        Woburn, MA 01813


 2.8.        State what the contract or                   Lease of QuickFill
             lease is for and the nature of               Single User Audit
             the debtor's interest

                  State the term remaining                                                    CWC Software, Inc.
                                                                                              10 Riverside Drive
             List the contract number of any                                                  Suite 104
                   government contract                                                        Lakeville, MA 02347


 2.9.        State what the contract or                   Master Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Expires 2/14/2020                   Docusign
                                                                                              221 Main Street
             List the contract number of any                                                  Suite 1000
                   government contract                                                        San Francisco, CA 94105


 2.10.       State what the contract or                   R&D Breakthrough
             lease is for and the nature of               Summit
             the debtor's interest
                                                                                              Embassy Suites Austin
                  State the term remaining                                                    Attn: Events Coordinator
                                                                                              5901 N I35
             List the contract number of any                                                  Austin, TX 78723
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 2 of 7
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 Debtor 1 Advantage Business Media, LLC                                                               Case number (if known)   19-11360-BLS
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired
                                                                                          lease

                    government contract


 2.11.       State what the contract or                   ID Big 50
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                              Hilton Chicago O'Hare Airport
             List the contract number of any                                                  5550 North River Road
                   government contract                                                        Des Plaines, IL 60018


 2.12.       State what the contract or                   Contract 1
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 10/29/21                    Hubspot Inc.
                                                                                              25 First Street
             List the contract number of any                                                  2nd Floor
                   government contract                                                        Cambridge, MA 02141


 2.13.       State what the contract or                   Contract 2
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 9/26/19                     Hubspot Inc.
                                                                                              25 First Street
             List the contract number of any                                                  2nd Floor
                   government contract                                                        Cambridge, MA 02141


 2.14.       State what the contract or                   R&D Breakthrough
             lease is for and the nature of               Summit
             the debtor's interest

                  State the term remaining
                                                                                              Hyatt Regency Austin
             List the contract number of any                                                  208 Barton Springs Rd.
                   government contract                                                        Austin, TX 78704


 2.15.       State what the contract or                   Lab Design Conference
             lease is for and the nature of               - Spring
             the debtor's interest

                  State the term remaining
                                                                                              Hyatt Regency Orlando
             List the contract number of any                                                  9801 International Drive
                   government contract                                                        Orlando, FL 32819


 2.16.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement                           Idio Inc.
             the debtor's interest                                                            214 West 39th Street
                                                                                              New York, NY 10018
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 Debtor 1 Advantage Business Media, LLC                                                               Case number (if known)   19-11360-BLS
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired
                                                                                          lease

                  State the term remaining                Expires 6/25/2021

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Veritas NetBackup
             lease is for and the nature of               Licensing Software
             the debtor's interest

                  State the term remaining                Expires 2/30/2020                   Insight
                                                                                              Attn Paul Musolino
             List the contract number of any                                                  6820 S Harl Ave
                   government contract                                                        Tempe, AZ 85283-4318


 2.18.       State what the contract or                   International Lab
             lease is for and the nature of               Design Conference
             the debtor's interest
                                                                                              Maritim proArte
                  State the term remaining                                                    Hotel Berlin
                                                                                              Friedrichstraße 151
             List the contract number of any                                                  10117 Berlin
                   government contract                                                        GERMANY


 2.19.       State what the contract or                   Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                    Mulesoft
                                                                                              77 Geary Street
             List the contract number of any                                                  Suite 400
                   government contract                                                        San Francisco, CA 94108


 2.20.       State what the contract or                   R&D 100s
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                              New Orleans Marriott
             List the contract number of any                                                  555 Canal Street
                   government contract                                                        New Orleans, LA 70130-2349


 2.21.       State what the contract or                   Lab Design Conference
             lease is for and the nature of               - Fall
             the debtor's interest

                  State the term remaining                                                    Omni Atlanta Hotel at CNN Center
                                                                                              Attn: Patty Feole, Express Sales Manager
             List the contract number of any                                                  100 CNN Center
                   government contract                                                        Atlanta, GA 30303




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 Debtor 1 Advantage Business Media, LLC                                                               Case number (if known)   19-11360-BLS
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired
                                                                                          lease

 2.22.       State what the contract or                   Platform Enterprise
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Expires 10/1/2021
                                                                                              Platform.sh
             List the contract number of any                                                  PO Box 536
                   government contract                                                        Brooklyn, MI 49230


 2.23.       State what the contract or                   Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 12/11/2019                  Sage Intacct
                                                                                              Attn: Cody Greenberg
             List the contract number of any                                                  300 park Avenue, Suite 1400
                   government contract                                                        San Jose, CA 95110


 2.24.       State what the contract or                   Contract 1
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 10/1/2021
                                                                                              Salesforce.com
             List the contract number of any                                                  415 Mission Street, 3rd Floor
                   government contract                                                        San Francisco, CA 94105


 2.25.       State what the contract or                   Contract 2
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 10/3/21
                                                                                              Salesforce.com
             List the contract number of any                                                  415 Mission Street, 3rd Floor
                   government contract                                                        San Francisco, CA 94105


 2.26.       State what the contract or                   Contract 3
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 10/3/2019
                                                                                              Salesforce.com
             List the contract number of any                                                  415 Mission Street, 3rd Floor
                   government contract                                                        San Francisco, CA 94105


 2.27.       State what the contract or                   Contract 4
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 10/3/2019                   Salesforce.com
                                                                                              415 Mission Street, 3rd Floor
             List the contract number of any                                                  San Francisco, CA 94105
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 Debtor 1 Advantage Business Media, LLC                                                               Case number (if known)   19-11360-BLS
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired
                                                                                          lease

                    government contract


 2.28.       State what the contract or                   Email service contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 10/1/2021
                                                                                              Salesforce.com
             List the contract number of any                                                  415 Mission Street, 3rd Floor
                   government contract                                                        San Francisco, CA 94105


 2.29.       State what the contract or                   Team Subscription
             lease is for and the nature of               Custom License
             the debtor's interest
                                                                                              Shutterstock
                  State the term remaining                                                    Empire State Building
                                                                                              350 Fifth Avenue
             List the contract number of any                                                  21st Floor
                   government contract                                                        New York, NY 10118


 2.30.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                3/31/2020                           Sintec Media NYC, Inc.
                                                                                              d/b/a Operative
             List the contract number of any                                                  6 East 32nd St., 3rd Flr
                   government contract                                                        New York, NY 10016


 2.31.       State what the contract or                   Services Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                              Statista Inc
                  State the term remaining                Expires 12/1/2019                   Attn: Dan Cooke
                                                                                              55 Broad Street
             List the contract number of any                                                  30th Floor
                   government contract                                                        New York, NY 10004


 2.32.       State what the contract or                   Software agreement,
             lease is for and the nature of               no. 1
             the debtor's interest

                  State the term remaining                Expires 9/24/2021
                                                                                              Tableau Software, Inc.
             List the contract number of any                                                  1621 N 34th St
                   government contract                                                        Seattle, WA 98103


 2.33.       State what the contract or                   Software agreement,
             lease is for and the nature of               no. 2                               Tableau Software, Inc.
             the debtor's interest                                                            1621 N 34th St
                                                                                              Seattle, WA 98103
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 Debtor 1 Advantage Business Media, LLC                                                               Case number (if known)   19-11360-BLS
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired
                                                                                          lease

                  State the term remaining                Expires 12/17/2019

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   TalkPoint Premiere Self
             lease is for and the nature of               Service Webcasting -
             the debtor's interest                        License
                                                                                              Talkpoint Holdings LLC
                  State the term remaining                Expires 5/1/2020                    Attn: Pat McClure
                                                                                              100 William Street
             List the contract number of any                                                  8th Floor
                   government contract                                                        New York, NY 10038


 2.35.       State what the contract or                   R&D Breakthrough
             lease is for and the nature of               Summit
             the debtor's interest

                  State the term remaining
                                                                                              Technium
             List the contract number of any                                                  3102 Oak Lawn Avenue
                   government contract                                                        Dallas, TX 75219


 2.36.       State what the contract or                   Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                    Workcast Inc.
                                                                                              600 1st Ave
             List the contract number of any                                                  Suite 541-543
                   government contract                                                        Seattle, WA 98104




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Advantage Business Media, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         19-11360-BLS
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      ORG ABM                           Attn: Jonathan D. Gormin                         Texas Capital Bank,             D       2.1
             Holdings, Inc.                    600 Congress Avenue                              N.A.                             E/F
                                               Suite 200
                                                                                                                                G
                                               Austin, TX 78701




    2.2      ORG ABM                           Attn: Jonathan D. GormIn                         PNC Erieview Capital            D
             Holdings, Inc.                    600 Congress Avenue                                                               E/F        3.68
                                               Suite 200
                                                                                                                                G
                                               Austin, TX 78701




    2.3      ORG Media                         Attn: Jonathan D. Gormin                         Texas Capital Bank,             D       2.1
             Holdings, Inc.                    600 Congress Avenue                              N.A.                             E/F
                                               Suite 200
                                                                                                                                G
                                               Austin, TX 78701




    2.4      ORG Media                         Attn: Jonathan D. Gormin                         PNC Erieview Capital            D
             Holdings, Inc.                    600 Congress Avenue                                                               E/F        3.68
                                               Suite 200
                                                                                                                                G
                                               Austin, TX 78701




Official Form 206H                                                         Schedule H: Your Codebtors                                        Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Advantage Business Media, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         19-11360-BLS
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $3,320,963.00
       From 1/01/2019 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                             $11,220,979.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other


       For year before that:                                                                    Operating a business                             $14,174,311.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
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 Debtor       Advantage Business Media, LLC                                                             Case number (if known) 19-11360-BLS



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               90-Day payments/transfers to creditors                                                      $490,793.12            Secured debt
               See attached Schedule 3.1                                                                                          Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.2.
               Wire Transfer Payments                                                                      $250,881.96            Secured debt
               See attached Schedule 3.2                                                                                          Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Bruce Cummings                                              June 16,                        $308,367.00           Payroll, T&E
               1201 Belaire Dr                                             2018 to June
               Granite Shoals, TX 78654                                    15, 2019
               CEO

       4.2.    Theresa Freeburg                                            June 16,                        $171,763.00           Payroll, T&E
               232 Cambridge Court                                         2018 to June
               Clifton, NJ 07014                                           15, 2019
               CFO

       4.3.    Aaron Million                                               June 16,                         $33,750.00           Payroll, T&E
               4308 Gateway Circle                                         2018 to June
               Scarborough, ME 04074                                       15, 2019
               COO

       4.4.    Gary Fortin                                                 June 16,                           $7,708.00          Payroll, T&E
               5701 W Slaughter Ln                                         2018 to June
               Bldg A130 -197                                              15, 2019
               Austin, TX 78749
               CMO

       4.5.    Ryan Masten                                                 June 16,                           $7,875.00          Payroll, T&E
               22117 Esmeralda Drive                                       2018 to June
               Spicewood, TX 78669                                         15, 2019
               CTO

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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SCHEDULE 3.1 (Question 3.1 of the Statement of Financial Affairs concerning check payments made within
              90 days of the petition date)
Row Labels                                          Sum of Amount Applied
V000012--American Audio Video                                        10,976.19
 206271                                                              10,976.19
V000016--Associated Press                                            16,226.04
 206214                                                                5,323.50
 206278                                                                5,323.50
 206304                                                                5,579.04
V000033--Cablevision                                                   9,211.29
 206215                                                                2,253.16
 206272                                                                2,322.87
 206285                                                                2,271.53
 206334                                                                2,363.73
V000035--Calfee Halter & Griswold Llp                                15,191.00
 206326                                                              15,191.00
V000040--Chlic                                                      217,873.16
 206216                                                              29,390.25
 206260                                                              41,626.59
 206276                                                              51,565.58
 206279                                                              45,535.60
 206320                                                              49,755.14
V000042--Citi Cards                                                    8,295.93
 206245                                                                  862.89
 206283                                                                1,073.45
 206296                                                                6,359.59
V000064--Eisner Amper Llp                                              9,880.00
 206328                                                                9,880.00
V000077--Fry Communications Inc                                      50,567.50
 206217                                                              14,611.58
 206247                                                              10,004.49
 206269                                                                1,994.00
 206270                                                                8,000.00
 206287                                                                8,957.43
 206295                                                                7,000.00
 206301                                                                    5.00
 Voided - 206301                                                          (5.00)
V000092--Sage Intacct, Inc.                                          11,301.84
 206225                                                              11,301.84
V000131--National News * Information Services Llc                    18,750.00
 206274                                                                6,250.00
 206311                                                                6,250.00
 206344                                                                6,250.00
V000153--Pa Department Of Revenue                                      9,114.63
 206297                                                                9,114.63
V000201--Unum Life Insurance Company                                 26,188.87
 206229                                                                5,659.10
 206253                                                                5,474.93
 206293                                                                5,053.19
 206322                                                                5,107.48
 206353                                                                4,894.17
V000223--Caron & Bletzer PLLC                                          8,700.00
 206327                                                                8,700.00
V000228--Scarinci Hollenbeck                                         10,935.00
 206316                                                                6,750.00
 206349                                                                4,185.00
V000256--The Hanover Insurance Group                                   6,962.40
 206242                                                                6,962.40
V000352--Maureen Mushinsky                                             7,650.35
 206236                                                                3,261.25
 206290                                                                  309.00
 206319                                                                4,080.10
V000371--Broadcast and Media Operations                                6,900.00
 206210                                                                6,900.00
V000406--360 Internet Marketing                                      22,000.00
 206259                                                              10,000.00
 206284                                                                6,000.00
 206325                                                                6,000.00
V000413--TechCXO LLC                                                 10,000.00
 206318                                                              10,000.00
V000416--Margaret Rogers                                             14,068.92
 206231                                                                7,055.91
 206281                                                                7,013.01
Grand Total                                                         490,793.12
              Case 19-11360-BLS
SCHEDULE 3.2 (Question 3.2 on StatementDoc   13 Filed
                                          of Financial  07/09/19
                                                       Affairs       Pagewire
                                                               concerning 70 transfers
                                                                              of 86 made within
              90 days of the petition date)
Row Labels                                                 Sum of Credit
  V000001                                                     $25,000.00
    - American Express:wire transf 4/16/19                    $25,000.00
  V000006                                                         $475.00
    - ADP Inc.:wire transf 5/10/19                                $475.00
  V000015                                                         $850.00
    - Asa Media:wire transf 3/30/19                               $340.00
    - Asa Media:wire transf 5/10/19                               $510.00
  V000062                                                      $9,476.60
    - Dubois Bryant & Campbell:wire transf 3/27/19             $9,476.60
  V000077                                                     $66,717.17
    - Fry Communications Inc:wire transf 5/24/19              $14,800.49
    - Fry Communications Inc:wire transf 5/31/19              $18,006.03
    - Fry Communications Inc:wire transf 6/14/19              $16,772.12
    - Fry Communications Inc:wire transf 6/7/19               $12,138.53
    - Fry Communications Inc:wire transf 6/719                 $5,000.00
  V000112                                                      $5,014.90
    - Marcus Plantenburg:wire transf 5/10/19                   $1,116.10
    - Marcus Plantenburg:wire transf 5/31/19                   $3,898.80
  V000167                                                     $45,000.00
    - Queen Saenz & Schutz Pllc:wire transf 3/20/19           $45,000.00
  V000178                                                      $1,095.10
    - Snp Technologies Inc.:wire transf. 5/6/19                $1,095.10
  V000193                                                      $9,933.00
    - The Magazine Production Co Ltd:wire transf 5/10/19       $3,762.00
    - The Magazine Production Co Ltd:wire transf 5/24/19       $6,171.00
  V000282                                                     $22,001.84
     - Gary Fortin:wt                                          $2,470.61
    - Gary Fortin:wire transf 4/12/18                          $3,750.00
    - Gary Fortin:wire transf 4/29/18                             $352.52
    - Gary Fortin:wire transf 4/3/18                           $2,212.55
    - Gary Fortin:wire transf 5/1/19                           $3,750.00
    - Gary Fortin:wire transf 5/17/19                          $9,466.16
  V000407                                                     $20,690.91
    - Platform.Sh:wire trasf 5/2/19                           $20,690.91
  V000421                                                     $11,801.63
    - Brianne Bailey:wire transf 4/12/19                       $1,500.00
    - Brianne Bailey:wire transf 4/3/19                        $1,335.89
    - Brianne Bailey:wire transf 5/1/19                        $1,500.00
    - Brianne Bailey:wire transf 5/10/19                       $2,465.74
    - Brianne Bailey:wire transf 5/17/19                       $5,000.00
  V000423                                                      $9,764.22
    - Embassy Suites Hotel:wire transf 4/9/19                  $9,764.22
  V000425                                                     $17,500.00
    - Oasis Holdings Ltd LLC:wire transf 4/11/19               $3,750.00
    - Oasis Holdings Ltd LLC:wire transf 5/1/19                $3,750.00
    - Oasis Holdings Ltd LLC:wire transf 5/17/19              $10,000.00
  V000433                                                      $5,561.59
    - Michael Buczkowski:wire transf. 5/31/19                  $5,561.59
Grand Total                                                  $250,881.96
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 Debtor      Advantage Business Media, LLC                                                              Case number (if known) 19-11360-BLS



       Creditor's name and address                               Describe of the Property                                      Date                Value of property

       NWP Acquisition LLC                                       Ex Parte Order for Possession in the                          8/30/2017                  $54,068.44
       c/o Farbman Group                                         amount of $54,068.44 entered by the
       28400 Northwestern Hwy                                    Honorable Carrie E. Hamilton on 8/30/17 in
       4th Floor                                                 the Circuit Court of Cook County, Illinois,
       Southfield, MI 48034                                      Municipal Department, Case No. 2017
                                                                 M/706045 on behalf of NWP Acquisition
                                                                 LLC against Advantage Business Media,
                                                                 LLC et al. re the Elk Grove, Illinois lease.


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       Texas Capital Bank, N.A.                                  Seized money in account                                       6/14/2019                $270,651.51
       c/o Eric J. Taube, Esq.                                   Last 4 digits of account number:    0742
       Waller Lansden Dortch
       100 Congress Ave., Ste. 1800
       Austin, TX 78701


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
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 Debtor        Advantage Business Media, LLC                                                                Case number (if known) 19-11360-BLS



       Description of the property lost and                      Amount of payments received for the loss                  Dates of loss          Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    McCarter & English, LLP
                Four Gateway Center
                100 Mulberry Street
                Newark, NJ 07102                                     Attorney Fees                                             4/25/19                 $25,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.    Queen Saenz & Schutz PLLC
                327 Congress Ave., Suite 220
                Austin, TX 78701                                     ORG legal fees                                            3/20/2019               $45,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.3.    McCarter & English, LLP
                Four Gateway Center
                100 Mulberry Street
                Newark, NJ 07102                                     Legal Fees                                                5/31/19                 $50,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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 Debtor        Advantage Business Media, LLC                                                            Case number (if known) 19-11360-BLS



    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    199 E. Badger Road, Suite 200                                                                              Until December 2017
                Madison, WI 53713

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    401(k)                                                                                     EIN:

                    Has the plan been terminated?              Unknown
                     No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
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 Debtor      Advantage Business Media, LLC                                                              Case number (if known) 19-11360-BLS




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was            Last balance
                Address                                          account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Iron Mountain                                                 TBD                                  Paper files, 7-8 years                No
       PO Box 27128                                                                                                                             Yes
       New York, NY 10087-7128



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.


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Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor      Advantage Business Media, LLC                                                              Case number (if known) 19-11360-BLS



       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Vicon Business media was a 2nd                   EIN:
             Vicon Business Media, Inc.
             600 Congress Street                              subsidiary of ABM ORG Media
             Suite 200                                        Holdings. This subsidiary was                    From-To
             Austin, TX 78701                                 consolidated with ABM, LLC and
                                                              ABM, LLC assumed the EIN # of
                                                              Vicon moving forward.

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Theresa Freeburg                                                                                                           At least 2 years
                    232 Cambridge Court                                                                                                        prior to petition date
                    Clifton, NJ 07014
       26a.2.       Michael H Mc Caffery, Accounting Manager                                                                                   At least 2 years
                    47 Irving Ave                                                                                                              prior to petition date
                    Livingston, NJ 07039
       26a.3.       James Miller                                                                                                               At least 2 years
                    102 Juniper Lane                                                                                                           prior to petition date
                    East Stroudsburg, PA 18301
       26a.4.       Denise VanZandt, Billing Administrator                                                                                     May 2018 to June
                    567 Main Street                                                                                                            2019
                    Landing, NJ 07850
       26a.5.       Michele Verdi                                                                                                              At least 2 years
                    78 Koclas Drive                                                                                                            prior to petition date
                    Netcong, NJ 07857


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
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 Debtor      Advantage Business Media, LLC                                                              Case number (if known) 19-11360-BLS



       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.6.       EisnerAmper, LLP                                                                                                    At least 2 years
                    750 Third Avenue                                                                                                    prior to petition date
                    New York, NY 10017

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       EisnerAmper, LLP                                                                                                    At least 2 years
                    750 Third Avenue                                                                                                    prior to petition date
                    New York, NY 10017

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Owner Resource Group
                    221 W. 6th Street
                    Suite 2000
                    Austin, TX 78701
       26c.2.       Bruce Cummings, CEO                                                                      The company closed upon the filing of the
                    1201 Belaire Dr                                                                          Ch. 7 bankruptcy case, and upon information
                    Granite Shoals, TX 78654                                                                 and belief, the computer files and records are
                                                                                                             in the possession of the Trustee.
       26c.3.       Aaron Million, COO                                                                       The company closed upon the filing of the
                    4308 Gateway Circle                                                                      Ch. 7 bankruptcy case, and upon information
                    Scarborough, ME 04074                                                                    and belief, the computer files and records are
                                                                                                             in the possession of the Trustee.
       26c.4.       Theresa Freeburg, CFO                                                                    The company closed upon the filing of the
                    232 Cambridge Court                                                                      Ch. 7 bankruptcy case, and upon information
                    Clifton, NJ 07014                                                                        and belief, the computer files and records are
                                                                                                             in the possession of the Trustee.
       26c.5.       Michael H Mc Caffery, Accounting Manager                                                 The company closed upon the filing of the
                    47 Irving Ave                                                                            Ch. 7 bankruptcy case, and upon information
                    Livingston, NJ 07039                                                                     and belief, the computer files and records are
                                                                                                             in the possession of the Trustee.
       26c.6.       James Miller, Sr. Director of Finance                                                    The company closed upon the filing of the
                    102 Juniper Lane                                                                         Ch. 7 bankruptcy case, and upon information
                    East Stroudsburg, PA 18301                                                               and belief, the computer files and records are
                                                                                                             in the possession of the Trustee.

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None




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       Name and address
       26d.1.  Texas Capital Bank, N.A.
                    c/o Eric J. Taube, Esq.
                    Waller Lansden Dortch
                    100 Congress Ave., Ste. 1800
                    Austin, TX 78701
       26d.2.       PNC Erieview Capital
                    c/o Douglas Mundell, Esq.
                    and Laura Long, Esq.
                    Legal Dept., 300 Fifth Avenue
                    Pittsburgh, PA 15222
       26d.3.       Owner Resource Group
                    221 W. 6th Street
                    Suite 2000
                    Austin, TX 78701
       26d.4.       EisnerAmper, LLP
                    750 Third Avenue
                    New York, NY 10017

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Bruce Cummings                                 1201 Belaire Dr                                     CEO
                                                      Granite Shoals, TX 78654

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Theresa Freeburg                               232 Cambridge Court                                 CFO
                                                      Clifton, NJ 07014

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Aaron Million                                  4308 Gateway Circle                                 COO
                                                      Scarborough, ME 04074

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Gary Fortin                                    5701 W Slaughter Ln                                 CMO
                                                      Bldg A130 -197
                                                      Austin, TX 78749
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ryan Masten                                    22117 Esmeralda Drive                               CTO
                                                      Spicewood, TX 78669




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 Debtor      Advantage Business Media, LLC                                                              Case number (if known) 19-11360-BLS



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jonathan D. GormIn                             ORG ABM Holdings, Inc.                              Manager
                                                      600 Congress Avenue
                                                      Suite 200
                                                      Austin, TX 78701
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Will Burnett                                   ORG ABM Holdings, Inc.                              Manager
                                                      600 Congress Avenue
                                                      Suite 200
                                                      Austin, TX 78701
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       ORG ABM Holdings, Inc.                         600 Congress Avenue, Suite 200                      Member
                                                      Austin, TX 78701



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Jim Lonergan                                   22 Edgewood Road                                    Previous CEO                     4/2018
                                                      Chatham, NJ 07928

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Tim Besecker                                   148 Woodward Lane                                   CTO/CMO                          1/2019
                                                      Basking Ridge, NJ 07920


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Same as no. 4 above
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation



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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 2, 2019

 /s/ Bruce Cummings                                                     Bruce Cummings
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                               United States Bankruptcy Court
                                                                      District of Delaware
 In re      Advantage Business Media, LLC                                                             Case No.   19-11360-BLS
                                                                                Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       July 2, 2019                                            /s/ Bruce Cummings
                                                                     Bruce Cummings/Chief Executive Officer
                                                                     Signer/Title




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ADVANTAGE BUSINESS Case 19-11360-BLS
                     MEDIA, LLC  AMANDADocHOLLENBECK
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                                                                    81 of 86
100 ENTERPRISE DRIVE, SUITE 600  93 CIRCLE DR                      410 TERRY AVE N
ROCKAWAY, NJ 07866               ROCKAWAY, NJ 07866                SEATTLE, WA 98109-5210

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SHANNON D. HUMISTON (NO. 5740)   AMAZON SERVICES                   BARBARA A BENACK
MCCARTER & ENGLISH, LLP          410 TERRY AVE N                   8 HILLTOP TERRACE
405 N. KING STREET, 8TH FLOOR    SEATTLE, WA 98109                 BLOOMINGDALE, NJ 07403
RENAISSANCE CENTRE
WILMINGTON, DE 19801

A&P PRINTING                     AMERICAN AUDIO VIDEO              BEVIN A FLETCHER
PO BOX 4233                      8005 HAUTE COURT                  707 MAIN STREET
CLIFTON, NJ 07012                SPRINGFIELD, VA 22150-2228        APT. 2
                                                                   BOONTON, NJ 07005


AARON MILLION                    AMERICAN EXPRESS                  BIZZABO INC.
4308 GATEWAY CIRCLE              PO BOX 1270                       31 W 27TH STREET, 10TH FLOOR
SCARBOROUGH, ME 04074            NEWARK, NJ 07101-1270             NEW YORK, NY 10001




ADOBE                            ANUPAMA KURRA                     BRENT A TOMASINO
CORPORATE HEADQUARTERS           27 BARKER AVE                     87 OVERLOOD DRIVE
345 PARK AVENUE                  APT. 1124                         HACKETTSTOWN, NJ 07840
SAN JOSE, CA 95110-2704          WHITE PLAINS, NY 10601


AHMED MOHAMMED                   APIHUB, INC.                      BRENT R HATCH
359 W MAIN ST                    ATTN: CONOR HICKEY                18 LAKEVIEW DRIVE
ROCKAWAY, NJ 07866               90 SHERIDAN STREET                YORKVILLE, IL 60560
                                 SAN FRANCISCO, CA 94103


ALEXANDER CO.                    ARTHUR PINI JR.                   BRIANNE BAILEY
345 W. WASHINGTON AVENUE         1623 FIDDLEWOOD COURT             3829 TIERRA CHISUM DRIVE
MADISON, WI 53703                CASSELBERRY, FL 32707             EL PASO, TX 79938




ALIX PAULTRE                     ASA MEDIA                         BRIGHTCOVE INC.
KLARENTHALER STR. 1              4 JERSEY LANE                     BOX 83318
65197 WIESBADEN                  ST ALBANS                         WOBURN, MA 01813
GERMANY                          HERTS AL4 9AB


ALLAN A ELDRIDGE                 ASCAP                             BRITTANY SMITH
7 DURWOOD PLACE                  21678 NETWORK PLACE               3303 HOLLY BRAMCH COURT
MADISON, NJ 07940                CHICAGO, IL 60673-1216            APT #471
                                                                   SACRAMENTO, CA 95834


ALTHEA DOTZOUR PHOTOGRAPHY       ASSOCIATED PRESS                  CABLEVISION
1004 SIOUX TRAIL                 ATTN: TED MENDELSOHN              PO BOX 360111
MONONA, WI 53716-2536            450 WEST 33RD STREET              PITTSBURGH, PA 15251-6111
                                 NEW YORK, NY 10001
                     Case 19-11360-BLS
CANON FINANCIAL SOLUTIONS          DANIELDoc 13 Filed 07/09/19
                                          S SEEGER               Page DOLLY
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                                                                             STOLZE
14904 COLLECTIONS CENTER DRIVE     2322 UPHAM STREET                 1930 MANHATTAN BEACH BLVD
CHICAGO, IL 60693-0149             MADISON, WI 53704                 #102
                                                                     REDONDO BEACH, CA 90278


CANON SOLUTIONS AMERICA INC.      DANIELLE M DERONDE                 EMBASSY SUITES AUSTIN
15004 COLLECTIONS CENTER DRIVE    52 HILL STREET                     ATTN: EVENTS COORDINATOR
CHICAGO, IL 60693                 ROCKAWAY, NJ 07866                 5901 N I35
                                                                     AUSTIN, TX 78723


CAPITAL AIR SYSTEMS               DATA SAFE INC.                     FREE TRADE MAGAZINES.COM
3444 CAPITOL DRIVE                831B ROUTE 10                      1 INTERNATIONAL BOULEVARD
PO 670                            WHIPPANY, NJ 07981                 SUITE 1200
SUN PRAIRIE, WI 53590                                                MAHWAH, NJ 07495-0031


CATHERINE SBEGLIA                 DAVID DIEHL                        FREEMAN COMPANIES
111 N. HAMILTON STREET            236 CLINTON STREET                 PO BOX 650036
MADISON, WI 53707                 BROOKLYN, NY 11201                 DALLAS, TX 75265-0036




CHARTER COMMUNICATIONS            DAVID LOJKO                        FRY COMMUNICATIONS INC.
PO BOX 3019                       1598 NE SOTTONG AVE                800 WEST CHURCH ROAD
MILWAUKEE, WI 53201-3019          JENSEN BEACH, FL 34957             MECHANICSBURG, PA 17055




CIGNA HEALTH LIFE INSURANCE CO.   DAVIS & GILBERT LLP                GARY FORTIN
CORPORATE HEADQUARTERS            BROOKE ERDOS SINGER, ESQ.          5701 W SLAUGHTER LN
900 COTTAGE GROVE ROAD            1740 BROADWAY                      BLDG A130 -197
BLOOMFIELD, CT 06002              NEW YORK, NY 10019                 AUSTIN, TX 78749


CLEARVOICE, INC.                  DEBRA SCHUG                        GEORGE MITCHELL JR
515 E. GRANT STREET               5520 W. DAKIN                      29 GARDEN AVENUE
SUITE 150                         CHICAGO, IL 60641                  WHARTON, NJ 07885
PHOENIX, AZ 85003-2633


CLOYD A STEIGER                   DENISE VANZANDT                    GLEN SUNDIN
1112 SW 348TH PLACE               567 MAIN STREET                    4 TIFFANY ROAD
FEDERAL WAY, WA 98023             LANDING, NJ 07850                  MORRISTOWN, NJ 07960




CORINNE BERNSTEIN                 DESIGN-ER LLC                      GLOBAL EXPERIENCE SPECIALIS
98-40 64TH AVENUE                 276 SCHULTE LANE                   BANK OF AMERICA
APARTMENT 5H                      SANTA BARBARA, CA 93105            PO BOX 96174
REGO PARK, NY 11374-2516                                             CHICAGO, IL 60693


CWC SOFTWARE, INC.                DOCUSIGN                           GREEN SKY CREATIVE LLC
10 RIVERSIDE DRIVE                221 MAIN STREET                    607 SHELBY #500
SUITE 104                         SUITE 1000                         DETROIT, MI 48226
LAKEVILLE, MA 02347               SAN FRANCISCO, CA 94105
HENRY E HANSCH        Case 19-11360-BLS   Doc 13
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                                                                          83 of 86 R DELAOSA
20 FOX HILL ROAD                    ATTN PAUL MUSOLINO                  101 SHERMAN RIDGE RD
DENVILLE, NJ 07834                  6820 S HARL AVE                     WANTAGE, NJ 07461
                                    TEMPE, AZ 85283-4318


HIGBEE & ASSOCIATES                 INTERNAL REVENUE SERVICE            JESSE J OSBORNE
CLIENT TRUST ACCOUNT                CENTRALIZED INSOLVENCY OPER.        9960 TALONS WAY
1504 BROOKHOLLOW DRIVE              PO BOX 7346                         VERONA, WI 53593
SUITE 112                           PHILADELPHIA, PA 19101-7346
SANTA ANA, CA 92705

HILTON CHICAGO O'HARE AIRPORT       IRON MOUNTAIN                       JOHN KOON
5550 NORTH RIVER ROAD               PO BOX 27128                        4243 STURGEON COURT
DES PLAINES, IL 60018               NEW YORK, NY 10087-7128             SAN DIEGO, CA 72130-2146




HIRERIGHT LLC                       JAMES DIPROSPERO                    JOHN PAUL PICKERING
PO BOX 847891                       40 3RD STREET                       4021 E. GLENCOVE STREET
DALLAS, TX 75284-7891               FANWOOD, NJ 07023                   MESA, AZ 85205




HUBSPOT INC.                        JAMES MILLER                        JON MINNICK
25 FIRST STREET                     102 JUNIPER LANE                    1348 EMERALD TERRACE
2ND FLOOR                           EAST STROUDSBURG, PA 18301          SUN PRAIRIE, WI 53590
CAMBRIDGE, MA 02141


HYATT REGENCY AUSTIN                JAMES PROTOPAPA                     JOSEPH T BARRETT JR
208 BARTON SPRINGS RD.              269 LYONS RD                        38 DEERFIELD DRIVE
AUSTIN, TX 78704                    BASKING RIDGE, NJ 07920             ROCKAWAY, NJ 07866




HYATT REGENCY ORLANDO               JAMES THERIAULT                     JOYCE LAIRD
9801 INTERNATIONAL DRIVE            4108 WHISPERING OAKS LANE           13207 WENTWORTH STREET
ORLANDO, FL 32819                   DANVILLE, CA 94506                  ARLETA, CA 91331




ICIMS, INC.                         JENNIFER GRINTHAL                   JOYCEANN M GRIPPA
29348 NETWORK PLACE                 158 KANOUSE STREET                  133 LEVERETT AVENUE
CHICAGO, IL 60673-1294              BOONTON, NJ 07005                   STATEN ISLAND, NY 10308




IDIO INC.                           JENNIFER K CHOO                     JUDD H BERGENFELD
214 WEST 39TH STREET                8 PINE VALLEY ROAD                  31 STEWART PLACE
NEW YORK, NY 10018                  FREDON, NJ 07860                    FANWOOD, NJ 07023




INFOGROUP                           JENNIFER MILES                      KATHLEEN BOBACK
PO BOX 3243                         3132 WILMINGTON ROAD                26 EDGEFIELD DRIVE
OMAHA, NE 68103-0395                SUITE 4                             MORRIS PLAINS, NJ 07950
                                    NEW CASTLE, PA 16105
KELLY SOMERS      Case 19-11360-BLS
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16 GREEN ACRES DRIVE            38 ROUND TOP ROAD                 SERVICES LLC
UNIT 55                         WARREN, NJ 07059                 41521 N. CHASE OAKS WAY
VERONA, NJ 07044                                                 ANTHEM, AZ 85086-1184


KEYSTONE COLLECTIONS            MARY E DI DONNA                  NETLINE CORPORATION
GROUP                           14 BEASLEY STREET                DEPT LA 24024
PO BOX 506                      WEST ORANGE, NJ 07052            PASADENA, CA 91185-4024
IRWIN, PA 15642


LAINIE FISZER                   MASSILLON PLAQUE COMPANY         NEW ORLEANS MARRIOTT
64 BEAVER DAM ROAD              5757 MAYFAIR ROAD                555 CANAL STREET
RANDOLPH, NJ 07869              NORTH CANTON, OH 44720           NEW ORLEANS, LA 70130-2349




LAURA E PANJWANI                MAUREEN MUSHINSKY                NORMAN JOHNSON PHOTOGRAP
28 WEST 3RD STREET              W3375 MCDONALD ROAD              4310 PASEO DEL NORTE NE
APT 2345                        LAKE GENEVA, WI 53147            SUITE 8
SOUTH ORANGE, NJ 07079                                           ALBUQUERQUE, NM 87113


LISA MCCOY                      MERCURY MAGAZINES                NWP ACQUISITION LLC
2895 MCMICHAEL ROAD             5 HIGH RIDGE PARK                C/O FARBMAN GROUP
ALANSON, MI 49706               STAMFORD, CT 06905               28400 NORTHWESTERN HWY
                                                                 4TH FLOOR
                                                                 SOUTHFIELD, MI 48034

MADHURI KOTI                    MICHAEL H MC CAFFERY             OFFICE DEPOT
320 EAST MAIN STREET            47 IRVING AVE                    PO BOX 633211
APT. 5B                         LIVINGSTON, NJ 07039             CINCINNATI, OH 45263-3211
ROCKAWAY, NJ 07866


MAJEED AHMAD KAMRAN             MICHELE VERDI                    OMNI ATLANTA HOTEL AT CNN C
321-B VALANCIA TOWN             78 KOCLAS DRIVE                  ATTN: PATTY FEOLE, EXPRESS SM
LAHORE                          NETCONG, NJ 07857                100 CNN CENTER
PAKISTAN                                                         ATLANTA, GA 30303


MARCUS PLANTENBURG              MICHELLE TAYLOR                  ORG ABM HOLDINGS, INC.
ANDREAS KASPERBAUER             6 E. MAYER DRIVE                 ATTN: JONATHAN D. GORMIN
STRABE 34 D-85540 HAA           MONTEBELLO, NY 10901-3402        600 CONGRESS AVENUE
                                                                 SUITE 200
                                                                 AUSTIN, TX 78701

MARIA LAURA                     MULESOFT                         ORG MEDIA HOLDINGS, INC.
GUERRA DEEGUI                   77 GEARY STREET                  ATTN: JONATHAN D. GORMIN
100 CONGRESS ST, APT. 205       SUITE 400                        600 CONGRESS AVENUE
BROOKLYN, NY 11201              SAN FRANCISCO, CA 94108          SUITE 200
                                                                 AUSTIN, TX 78701

MARITIM PROARTE                 NATALYNN V SUNGA                 OWNER RESOURCE GROUP
HOTEL BERLIN                    41 WEST PROSPECT ST.             221 W. 6TH STREET
FRIEDRICHSTRAßE 151             UNIT 410                         SUITE 2000
10117 BERLIN                    WALDWICK, NJ 07463               AUSTIN, TX 78701
GERMANY
PATHOLOGY EXPERT, Case
                    INC. 19-11360-BLS
                                  SAGE Doc  13 Filed 07/09/19
                                        INTACCT                 Page SPENCER
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3739 BALBOA STREET                ATTN: CODY GREENBERG              69-15 SPRINGFIELD BLVD
#102                              300 PARK AVENUE, SUITE 1400       OAKLAND GARDENS, NY 11364
SAN FRANCISCO, CA 94121           SAN JOSE, CA 95110


PATRICE ARGANT                    SALESFORCE.COM                    STAFF IT INC.
130 WEST JACKSON AVENUE           415 MISSION STREET, 3RD FLOOR     1460 BROADWAY
SUITE 201                         SAN FRANCISCO, CA 94105           FRONT 5
KNOXVILLE, TN 37902                                                 NEW YORK, NY 10036


PAUL MUSOLINO                     SALESIFY INC.                     STATISTA INC
28 LILCHESTER ROAD                DEPT #33984                       ATTN: DAN COOKE
HOPATCONG, NJ 07843               PO BOX 39000                      55 BROAD STREET
                                  SAN FRANCISCO, CA 94139           30TH FLOOR
                                                                    NEW YORK, NY 10004

PLAN B MARKETING LLC              SETH A AUGENSTEIN                 SUSAN ELIZABETH GILLESPIE
PO BOX 2083                       2 LIBERTY PLACE                   1252 MADISON STREET
APOPKA, FL 32704                  ROCKAWAY, NJ 07866                DENVER, CO 80206




PLATFORM.SH                       SHELTON ROOPA                     TABLEAU SOFTWARE, INC.
PO BOX 536                        82 LAKESHORE DRIVE                1621 N 34TH ST
BROOKLYN, MI 49230                ROCKAWAY, NJ 07866                SEATTLE, WA 98103




PNC ERIEVIEW CAPITAL              SHUTTERSTOCK                      TALKPOINT HOLDINGS LLC
C/O DOUGLAS MUNDELL, ESQ.         EMPIRE STATE BUILDING             ATTN: PAT MCCLURE
AND LAURA LONG, ESQ.              350 FIFTH AVENUE                  100 WILLIAM STREET
LEGAL DEPT., 300 FIFTH AVENUE     21ST FLOOR                        8TH FLOOR
PITTSBURGH, PA 15222              NEW YORK, NY 10118                NEW YORK, NY 10038

PR NEWSWIRE ASSOCIATION LLC       SINTEC MEDIA NYC, INC.            TECHCXO LLC
PO BOX 5897                       D/B/A OPERATIVE                   1911 GRAYSON HWY
NEW YORK, NY 10087-5897           6 EAST 32ND ST., 3RD FLR          SUITE 8/122
                                  NEW YORK, NY 10016                GRAYSON, GA 30017


RACHELLE E BLAIR-FRASIER          SJ MARKETING INC.                 TECHNIUM
213 PRAIRIE STREET                PO BOX 546                        3102 OAK LAWN AVENUE
LODI, WI 53555                    OLD BETHPAGE, NY 11804-0546       DALLAS, TX 75219




ROCK80 NJ HOLDINGS LLC            SNP TECHNOLOGIES INC.             TERESA A KRUEGER
C/O LINCOLN PROPERTY COMPANY      2319 WHITNEY AVENUE               86 RYERSON AVENUE
9 ENTIN ROAD, SUITE 103           SUITE 3C                          NEWTON, NJ 07860
PARSIPPANY, NJ 07054              HAMDEN, CT 06518


RYAN MASTEN                       SOHM PHOTOGRAFX                   TEXAS CAPITAL BANK, N.A.
22117 ESMERALDA DRIVE             PO BOX 861                        C/O ERIC J. TAUBE, ESQ.
SPICEWOOD, TX 78669               SKAGWAY, AK 99840                 WALLER LANSDEN DORTCH
                                                                    100 CONGRESS AVE., STE. 1800
                                                                    AUSTIN, TX 78701
                   Case 19-11360-BLS
THE MAGAZINE PRODUCTION   CO.          Doc 13 Filed 07/09/19
                                 VISIT ORLANDO                 Page 86 of 86
ADUR BUSINESS CENTER             6277 SEA HARBOR DRIVE
LITTLE HIGH STREET               SUITE 400
SHOREHAM-BY-SEA                  ORLANDO, FL 32821-8043
WEST SUSSEX BN43 5EG, UK

THE SIMON GROUP                  WILLIAM O. MAKELY
1506 OLD BETHLEMHEM PIKE         4730 MAIN STREET
SELLERSVILLE, PA 18960           DOWNERS GROVE, IL 60515




THERESA FREEBURG                 WORKCAST INC.
232 CAMBRIDGE COURT              600 1ST AVE
CLIFTON, NJ 07014                SUITE 541-543
                                 SEATTLE, WA 98104


THOMAS A RULLIS
63 FOOTHILL DRIVE
LINCOLN PARK, NJ 07035




THOMAS J MORGAN
ONE PATRIOTS WAY
MIDDLETOWN, NJ 07748




TIMOTHY F MORGAN
24 ORION ROAD
BERKELEY HEIGHTS, NJ 07922




TIMOTHY STUDT
3648 STERLING ROAD
DOWNERS GROVE, IL 60515




TOTAL WATER TREATMENT SYSTEMS INC.
5002 WORLD DAIRY DRIVE
MADISON, WI 53718




UPS
PO BOX 7247-0244
PHILADELPHIA, PA 19170




VERIZON
PO BOX 4833
TRENTON, NJ 08650-4833
